              Case 2:18-cr-00422-DJH Document 221 Filed 07/17/18 Page 1 of 2




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 6
     Attorneys for Defendant Michael Lacey
 7
                              IN THE UNITED STATES DISTRICT COURT
 8                                FOR THE DISTRICT OF ARIZONA
 9
     United States of America,                              NO. CR-18-00422-PHX-SPL (BSB)
10

11                       Plaintiff,                   DEFENDANT’S UNOPPOSED MOTION
     vs.                                              FOR EXTENSION OF TIME TO SUBMIT
12                                                     REPLY ON DEFENDANT’S MOTION
     Michael Lacey, et al.,                               FOR DISCLOSURE (DOC. 202)
13

14                     Defendants.                             “Defendant Not in Custody”

15                                                            (Honorable Steven P. Logan)
16

17
            Defendant Michael Lacey, by and through his undersigned attorney, hereby moves for
18
     an extension of the deadline to submit the reply on Defendant’s Motion for Disclosure (Doc.
19
     202). The current deadline is July 19, 2018. Defendant Lacey requests that the Court extend the
20
     response deadline by three weeks for a revised deadline of August 9, 2018. As grounds in
21
     support of this Motion, Defendant states as follows:
22
            This case involves a 93-count indictment alleging a range of criminal acts involving
23
     Conspiracy,    Concealment,      Money     Laundering     (transactional   and   international
24
     promotional), and Travel Act – Facilitate Prostitution. This case involves complex legal
25
     issues that have been being litigated for several years. In addition to this motion, there are
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     several outstanding motions that the defense is working on drafting or responding to.
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              Case 2:18-cr-00422-DJH Document 221 Filed 07/17/18 Page 2 of 2




 1   Additional time is needed to put together the necessary information to submit a thorough
 2   reply to the Government’s opposition to Defendant Lacey’s Motion for Disclosure.
 3   Moreover, additional time is needed to accommodate counsel’s appearances on other cases
 4   and counsel’s previously scheduled vacation. In light of the foregoing, Defendant submits
 5   that an additional three weeks is reasonable.
 6           Counsel for Defendant Lacey has conferred with Assistant United States Attorney
 7   Kevin Rapp regarding the need for this extension and he has no objection to an extension
 8   to August 9, 2018. Counsel for Mr. Lacey has conferred with counsel for the remaining
 9   defendants and they are in agreement with a three week extension of this deadline.
10           The defense does not expect that this motion will result in an excludable delay under
11   18 U.S.C. § 3161(h).
12           Therefore, Defendant Lacey hereby respectfully requests this Court extend the
13   deadline for filing a reply on Defendant’s Motion for Disclosure to August 9, 2018. This
14   extension is sought on behalf of Defendant Lacey’s Co-Defendants, all of whom have joined in
15   Defendant Lacey’s Motion for Disclosure. A proposed order is attached for the Court’s
16   consideration.
            Respectfully submitted this 17th day of July, 2018,
17

18                                           /s/     Erin E. McCampbell
19                                                   Erin E. McCampbell, Esq.
                                                     LIPSITZ GREEN SCIME CAMBRIA LLP
20
                                                     Attorneys for Defendant Michael Lacey
21
                                        CERTIFICATE OF SERVICE
22

23           I hereby certify that on this 17th date of July 2018, I electronically transmitted the foregoing
24   Unopposed Motion for Extension of Time to File a Reply on Defendant’s Motion for Disclosure
     to the Clerk of the Court by filing with the CM/ECF system and understand a copy of the filing
25
     will be emailed to the attorneys of record.
26
     By: /s/ April Kelly
27

28                                                      2
